          Case 8:04-cr-00457-JSM-AAS Document 502 Filed 02/02/06 Page 1 of 8 PageID 1211
A 0 245B (Rev 12/03) Sheet I - Judgment in a Criminal Case


                                 UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                              TAMPA DIVISION



UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                                                   CASE NUMBER: 8:04-cr-457-T-30EA.J
                                                                   USM NUMBER: 42309-018
vs .

ALEXIS ROLON AYALA
                                                                   Defendant's Attorney: Terry C. Christian, cja.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE, FOUR and FIVE of the Second Superseding Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.
TITLE & SECTION                           NATURE OF OFFENSE                                  OFFENSE ENDED              COUNT

                                          Conspiracy to Distribute and Possession With       September 23, 2004         One
                                          Intent to Distribute One Kilogram or More
                                          of a Mixture or Substance Containing Heroin

                                          Distribution of a Mixture or Substance Containing April 19, 2004              Four
                                          Heroin

                                          Distribution of a Mixture or Substance Containing August 24, 2004             Five
                                          Heroin


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
-
X Count(s) ONE of the Indictment and Count ONE of the First SupersedingIndictment are dismissed on the motion of the United
States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days ofany change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                    Date of Imposition of Sentence: January 27, 2005




                                                                                           ED STATES DISTRICT JU@E
                                                                                            February     ,2006
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A 0 2450 (Rev 12/03) Sheet 2 - Imprisonment
Defendant:          ALEXIS ROLON AYALA                                                                          - 1
                                                                                                   Judgment - Page - of 6
Case No.:           8:04-cr-457-T-30EAJ

                                                             IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C.
$6 3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWO HUNDRED and SIXTY-TWO (262) MONTHS. This term consists of terms of 262
months on Count One, and 240 months as to Counts Four and Five, all such terms to run concurrently with each other.



- The c o u r t makes the following recommendations to the Bureau o f Prisons:



     The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.
       - at - a.m./p.m. on -.
          - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons
          -before 2 p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                    RETURN

          I h a v e executed this judgment as follows:




          Defendant delivered on                                                  to                                        at

                                                                        , with a certified c o p y o f this judgment.



                                                                                          United States Marshal

                                                                        By:

                                                                        Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:            ALEXIS ROLON AYALA                                                                Judgment - Page 3of 6
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                                                           SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS. This
term consists of a FIVE (5) year term as to Count One, and a THREE (3) year term as to Counts Four and Five, all such terms
to run concurrently with each other.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not illegally possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.

           The defendant, having been convicted of a qualifying felony, shall cooperate in the collection of DNA as directed by the
           probation officer.

            If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
            the Schedule of Payments sheet of this judgment.

            The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
            conditions on the attached page.
                                               STANDARI) CONDITIONS OF SUPERVISION
            the defendant shall not leave the judicial district without the pennission of the court or probation officer;

            the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
            month;

            the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

            the defendant shall support his or her dependents and meet other fimily responsibilities;

            the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;

            the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

            the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
            substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

            the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

            the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;

            the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;

            the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

            the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court;

            as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
            or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
            compliance with such notification requirement.
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A 0 2458 (Rev. 12/03) Sheet 3C - Supervised Release
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Defendant:           ALEXIS ROLON AYALA                                                       Judgment - Page 4 of 6
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                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


-
X          The defendant shall participate, as directed by the Probation Officer, in a program (outpatient andlor inpatient) for treatment
           of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
           abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
           amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.

-
X          The defendant shall participate as directed in a program of mental health treatment approved by the Probation Officer.
           Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount
           determined reasonable to by Probation Officer based on ability to pay or availability of third party payment and in
           conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.

X
-          The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. Based on the probation officer's
           determination that additional drug urinalysis is necessary, the Court authorizesrandom drug testing not to exceed 104 tests
           per year.
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A 0 245B (Rev 12/03) Sheet 5 - Criminal Monetary Penalties

Defendant:           ALEXIS ROLON AYALA                                                         Judgment - Page 5 of 6
Case No. :           8:04-cr-457-T-30EAJ

                                                CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                            -
                                                                      Fine                      Total Restitution

           Totals:                                                    Waived


-          The determination of restitution is deferred until -.               An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
                                                             a
           specified otherwise in the priority order or ercentage payment column below. However, pursuant to 18 U.S.C. §
           3664(i), all nonfederal victims must be pai before the Unlted States.
                                                                                                                Priority Order or
                                                       *Total                     Amount of                     Percentage of
 Name of Pavee                                       Amount of Loss            Restitution Ordered              Pavment




                                Totals:              L                         L

-          Restitution amount ordered pursuant to plea agreement $
-          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
           6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
 -         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -           the interest requirement is waived for the - fine         - restitution.

         -           the interest requirement for the - fine             restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and I 13A of Title 18 for the offenses committed
on or after September 13, 1994, but before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        ALEXIS ROLON AYALA                                                        Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 300.00 is due immediately, balance due
                            -not later than                    , or
                            -in accordance - C , - D, - E or - F below; or
                  Payment to begin immediately (may be combined with                   C,       D, or -F below); or
                  Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $             over a
                  period of          (e.g., months or years), to commence              days (e.g., 30 or 60 days) after the
                  date of this judgment; or
                  Payment in equal                (e.g., weekly, monthly, quarterly) installments of $               over a
                  period of
                               , (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision: or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of im                           payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except                                made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril any and all assets and property,
                                                                                                     g
or portions thereof, subject to forfeiture, which are in the possession or control of t e defendant or the defendant's
nominees. The Court hereby incorporates the Forfeiture Money Judgment entered on 1/27/2006 to this judgment.



Payments shall be applied in the following order: ( I ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

   UNITED STATES OF AMERICA,

          Plaintiff,

   v.                                                CASE P               457-T-30EAJ

   ALEXIS ROLON AYALA,

          Defendant.


                              FORFEITURE MONEY JUDGMENT

          THIS CAUSE comes before the Court upon the filing of the Motion of the United

   States of America for entry of a Forfeiture Money Judgment (Dkt. #492) in the amount of

   $1,500,000.00 in United States currency which, at sentencing, shall become a final order

   of forfeiture as defendant Alexis Rolon Ayala who is jointly and severally liable to the United

   States, along with all other defendants found guilty of the heroin trafficking conspiracy

   charged in Count One of the Second Superseding lndictment filed in the instant case.

          The court hereby finds that $1,500,000.00 in United States currency is the amount

   of funds obtained by the defendant as a result of the conspiracy charged in Counts One

   and the distribution charged in Counts Four and Five of the Second Superseding lndictment

   for which defendant pled guilty. Accordingly, it is hereby

          ORDERED, ADJUDGED AND DECREED that for good cause shown, said Motion

   of the United States (Dkt. #492) is GRANTED.

          It is further ORDERED that defendant Alexis Rolon Ayala is jointly and severally

   liable with all other defendants found guilty of the heroin trafficking conspiracy charged in

   Count One of the Second Superseding Indictment, pursuant to the provisions of 21 U.S.C.
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   § 853 and Fed. R. Crim. P. 32.2(b)(2), for a forfeiture money judgment in the amount of

   $1,500,000.00in United States currency, which represents the like amount of proceeds the

   defendant and others obtained as a result of the conspiracy to sell heroin.

          DONE and ORDERED in Tampa, Florida on January 27, 2006.




                                                  [-SITED ST-ATES DISTRICT JIBGE


   Copies to:
   Adelaide G. Few, AUSA
   All Attorneys of Record
